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                                                                            9                         UNITED STATES DISTRICT COURT
                                                                           10                        CENTRAL DISTRICT OF CALIFORNIA
                                                                           11
                                                                                PHILLIP WHITE, individually and on             Case No. 2:22-cv-06503
                                                                           12
                                                                                behalf of all others similarly situated,
                                                                           13                                                  CLASS ACTION COMPLAINT
                                                                                                    Plaintiff,                 1. VIOLATION OF UNFAIR
                                                                           14
                                                                                                                                  COMPETITION LAW (CAL BUS.
                                                                           15         v.                                          & PROF. CODE § 17200, et seq.)
                                                                                                                               2. VIOLATION OF FALSE
                                                                           16                                                     ADVERTISING LAW (CAL. BUS.
                                                                                T.W. GARNER FOOD CO., a North
                                                                           17   Carolina corporation,                             & PROF. CODE §§ 17500, et seq.)
                                                                                                                               3. VIOLATION OF CONSUMERS
                                                                           18                                                     LEGAL REMEDIES ACT (CAL.
                                                                                                    Defendant.                    CIV. CODE §§ 1750, et seq.)
                                                                           19                                                  4. BREACH OF WARRANTY
                                                                           20                                                  5. UNJUST ENRICHMENT

                                                                           21                                                  DEMAND FOR JURY TRIAL
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                                                                            1                                       COMPLAINT
                                                                            2          1.    Plaintiff Philip White (“Plaintiff”), individually and on behalf of all
                                                                            3   others similarly situated, as more fully described herein (the “Class” and “Class
                                                                            4   Members”) brings this class action complaint again Defendant T.W. Garner Food
                                                                            5   Co. (“Defendant”), and alleges the following based upon investigation,
                                                                            6   information, and belief, unless otherwise expressly stated as based on personal
                                                                            7   knowledge.
                                                                            8   I.    INTRODUCTION
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                                                                            9         2.     Synopsis. This class action lawsuit arises from Defendant’s failure to
                                                                           10   act in accordance with a fundamental precept of truth in advertising and fair play in
                                                                           11   the marketplace: the geographic origin of a product matters to consumers, and a
                                                                           12   company is therefore prohibited from misrepresenting it.
                                                                           13         3.     By representing that its Texas Pete® brand hot sauce products
                                                                           14   (“Products”) are Texas products, when they are not, Defendant has cheated its way
                                                                           15   to a market-leading position in the $3 billion-dollar hot-sauce industry at the
                                                                           16   expense of law-abiding competitors and consumers nationwide who desire authentic
                                                                           17   Texas hot sauce and reasonably, but incorrectly, believe that is what they are getting
                                                                           18   when they purchase Texas Pete.
                                                                           19         4.     Although Defendant brands the Products “Texas Pete,” there is
                                                                           20   surprisingly nothing Texas about them: unknown to consumers, the Products are
                                                                           21   standard Louisiana-style hot sauces, made with ingredients sourced outside the state
                                                                           22   of Texas, at a factory in North Carolina.
                                                                           23         5.     In furtherance of its deceptive labeling scheme, Defendant adorns the
                                                                           24   packaging and labeling with distinctly Texan imagery: the famed white ‘lone’ star
                                                                           25   from the Texan flag together with a ‘lassoing’ cowboy.
                                                                           26         6.     Defendant designed the misleading name and imagery to comprise the
                                                                           27   entire front label, repeated the deception on the prominent product seal, and then
                                                                           28   etched the Texan imagery into the glass on the front of the bottle.

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                                                                            1         7.    A true and correct image of Defendant’s Texas Pete Original Hot Sauce
                                                                            2   Product is depicted below. (Exhibit 1-1).
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                                                                           22         8.    Defendant concocted this false marketing and labeling scheme
                                                                           23   specifically because it knows the state of Texas enjoys a certain mysticism and
                                                                           24   appeal in the consumer marketplace and is known for its quality cuisine, spicy food,
                                                                           25   and hot sauce in particular.
                                                                           26         9.    By way of its false marketing and labeling, Defendant knowingly and
                                                                           27   intentionally capitalizes on consumers’ desire to partake in the culture and authentic
                                                                           28   cuisine of one of the most prideful states in America.

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                                                                            1         10.   As result of Defendant’s false labeling scheme, consumers seeking an
                                                                            2   authentic Texas hot sauce, including Plaintiff, are misled into believing that is what
                                                                            3   they are getting when they purchase the Products.
                                                                            4         11.   Consumers’ belief that Texas Pete is a Texas product is reasonable. As
                                                                            5   one article aptly declares: “With a name like Texas Pete, one would think the famed
                                                                            6   hot sauce is manufactured in the Lone Star state.”1
                                                                            7         12.   Because there is nothing “Texas” about Texas Pete, Defendant’s
                                                                            8   deceptive marketing and labeling scheme violates well-established federal and state
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                                                                            9   consumer protection laws aimed at preventing this exact type of fraudulent scheme.
                                                                           10         13.   Absent class relief, Defendant’s fraud will go unchecked to the
                                                                           11   detriment of consumers who are harmed financially and otherwise deprived of the
                                                                           12   ‘benefit of the bargain’ when they purchase an inauthentic product they otherwise
                                                                           13   would not, and at a premium price.
                                                                           14         14.   Defendant’s illegal conduct will also continue to harm other law-abiding
                                                                           15   brands, including smaller companies in Texas who similarly seek to leverage
                                                                           16   consumer demand for authentic Texas hot sauce, but who play by the rules. This
                                                                           17   stifles competition, reduces consumer choice, and leads to consumers paying higher
                                                                           18   prices at the cash register for inferior goods.
                                                                           19          15. The Products. The Products at issue consist of all “Texas Pete” hot
                                                                           20   sauce products sold by Defendant, including, but not limited to (See, Exhibit 1):
                                                                           21                    A. Texas Pete Original Hot Sauce;
                                                                           22                    B. Texas Pete Hotter Hot Sauce; and
                                                                           23                    C. Texas Pete Roasted Garlic Hot Sauce.
                                                                           24         16.   Primary Dual Objectives. Plaintiff brings this action individually and
                                                                           25   on behalf of those similarly situated to represent a National Class and a California
                                                                           26
                                                                                1
                                                                                 Catherine Carlock, “How Texas Pete got its Name: The Legend of Texas Pete (sort
                                                                           27
                                                                                of),” TRIAD BUSINESS JOURNAL, https://www.bizjournals.com/triad/print-
                                                                           28   edition/2014/05/02/how-texas-pete-got-its-name-the-legend-of-texas.html (last
                                                                                visited Sep. 7, 2022).
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                                                                            1   Subclass of consumers who purchased the Products for dual primary objectives.
                                                                            2   Plaintiff seeks, on Plaintiff’s individual behalf and on behalf of the Class, a
                                                                            3   monetary recovery of the price premium consumers overpaid for the Products due to
                                                                            4   the false and deceptive labeling, consistent with permissible law (including, for
                                                                            5   example, damages, restitution, disgorgement, and any applicable penalties/punitive
                                                                            6   damages, solely to the extent that those causes of action permit). More importantly,
                                                                            7   Plaintiff seeks injunctive relief in the form of an order requiring Defendant to
                                                                            8   change its unlawful advertising and labeling practices for the benefit of consumers,
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                                                                            9   including Plaintiff and the Class.
                                                                           10    II.   JURISDICTION
                                                                           11          17.   The Court has subject matter jurisdiction of this action pursuant to 28
                                                                           12   U.S.C. §1332 of the Class Action Fairness Act of 2005 because there: (i) are 100 or
                                                                           13   more class members, (ii) is an aggregate amount in controversy exceeding
                                                                           14   $5,000,000, exclusive of interest and costs, and (iii) is minimal diversity because at
                                                                           15   least one Plaintiff and Defendant are citizens of different states. This Court has
                                                                           16   supplemental jurisdiction over any state law claims pursuant to 28 U.S.C. §1367.
                                                                           17          18. Defendant is subject to personal jurisdiction in California based upon
                                                                           18   sufficient minimum contacts which exist between Defendant and California.
                                                                           19   Defendant is authorized to do and is doing business in California.
                                                                           20   III.   VENUE
                                                                           21          19.   Pursuant to 28 U.S.C. §1391, this Court is the proper venue for this
                                                                           22   action because a substantial part of the events, omissions, and acts giving rise to the
                                                                           23   claims herein occurred in Los Angeles County. Plaintiff is a citizen of California
                                                                           24   who resides in Los Angeles County; Defendant made the challenged false
                                                                           25   representations to Plaintiff in Los Angeles County; Plaintiff purchased the Product
                                                                           26   in Los Angeles County; and Plaintiff consumed the Products within Los Angeles
                                                                           27   County. Moreover, Defendant receives substantial compensation from sales in Los
                                                                           28

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                                                                            1   Angeles County, and Defendant made numerous misrepresentations in its labeling
                                                                            2   and advertising that had a substantial effect in Los Angeles County.
                                                                            3   IV.   PARTIES
                                                                            4          20. Plaintiff. Plaintiff Phillip White is, and at all relevant times hereto was,
                                                                            5   an individual residing in Los Angeles, California. White purchased one bottle of the
                                                                            6   Texas Pete Original Hot Sauce Product in California within the last four (4) years of
                                                                            7   the filing of this Complaint. Specifically, White purchased the Product in or around
                                                                            8   September 2021 at a Ralph’s store in Los Angeles, CA for approximately $3.00. In
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                                                                            9   making his purchase decision, White relied upon the language and images displayed
                                                                           10   on the front label of the Product, and at the time of purchase understood the Product
                                                                           11   to be a Texas product. These labels were prepared and approved by Defendant and
                                                                           12   its agents and disseminated statewide and nationwide, as well as designed to
                                                                           13   encourage consumers like Plaintiff to purchase the Product. Had White known the
                                                                           14   Product was not made in Texas, he would not have purchased the Product, or would
                                                                           15   have paid significantly less for it. White spent money to purchase a product that was
                                                                           16   different than that which he expected, and White did not receive the benefit of his
                                                                           17   bargain. White may want to purchase the Product again in the future if he could be
                                                                           18   sure that the Product were compliant with California and federal consumer
                                                                           19   protection and advertising laws.
                                                                           20          21. Defendant. TW Garner Food Co. is a corporation headquartered in
                                                                           21   Winston-Salem, North Carolina. Defendant maintains its principal place of business
                                                                           22   at 614 W 4th Street, Winston-Salem, North Carolina. Defendant offers the Products
                                                                           23   for sale at stores and retailers, as well as on the internet, throughout the nation,
                                                                           24   including the State of California. Defendant, directly and through its agents, has
                                                                           25   substantial contacts with and receives substantial benefits and income from and
                                                                           26   through the State of California. Defendant is the owner and distributor of the
                                                                           27   Products and is the company that created and/or authorized the false, misleading,
                                                                           28   and deceptive advertisements and packaging for the Products.

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                                                                            1          22. In committing the wrongful acts alleged herein, Defendant planned,
                                                                            2   participates in, and furthers a common scheme by means of false, misleading,
                                                                            3   deceptive, and fraudulent representations to induce members of the public to
                                                                            4   purchase the Products. Defendant participates in the making of such representations
                                                                            5   in that it disseminates or causes to be disseminated said misrepresentations.
                                                                            6          23. Defendant, upon becoming involved with the manufacture, distribution,
                                                                            7   advertising, marketing, and sale of the Products, knew or should have known that
                                                                            8   the claims about the Products and, in particular the claims suggesting that the
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                                                                            9   Products are “Texas” products, are fraudulent. Defendant affirmatively
                                                                           10   misrepresents the nature and characteristics of the Products to convince the public to
                                                                           11   purchase and consume the Products, resulting in significant profits to Defendant, all
                                                                           12   to the damage and detriment of the consuming public.
                                                                           13   V.    FACTUAL ALLEGATIONS
                                                                           14         A.    The Geographic Origin of a Product Is Important to Consumers
                                                                           15          24. Manufacturers and marketers use origin claims to distinguish their
                                                                           16   products from other products, knowing consumers rely on the accuracy of those
                                                                           17   claims in making their purchasing decisions. In fact, consumers are willing to pay
                                                                           18   premium prices for Products that are authentically connected to a significant
                                                                           19   geographical area. Some well-known examples of premium origin products are
                                                                           20   authentic Mexican tortillas, Belgian Chocolate, and Napa, California wines.
                                                                           21          25. Consumers Legal Remedies Act. Due to the import consumers put on
                                                                           22   origin advertising claims, the California state legislature has outlawed using
                                                                           23   “deceptive representations or designations of geographic origin in connection with
                                                                           24   goods or services.” Cal. Civ. Code § 1770(a)(4).
                                                                           25         26.   FTC Guidelines. The United States Federal Trade Commission
                                                                           26   (“FTC”) similarly created standards regarding origin claims to help companies
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                                                                            1   avoid making misleading and deceptive claims. 2 If a product is advertised as “Made
                                                                            2   in USA,” then “all or virtually all” of the product must be made in the United
                                                                            3   States.3 Specifically, the FTC stated:
                                                                            4         In connection with promoting or offering for sale any good or service . . .
                                                                                      it is an unfair or deceptive act or practice . . . to label any product as
                                                                            5         Made in the United States unless the final assembly or processing of the
                                                                                      product occurs in the United States, all significant processing that goes
                                                                            6         into the product occurs in the United States, and all or virtually all
                                                                                      ingredients or components of the product are made and sourced in the
                                                                            7         United States.
                                                                            8   16 C.F.R. § 323.2.
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                                                                            9         27.   Case Law. Courts around the country find cases involving false and
                                                                           10   deceptive origin advertising claims meritorious. See, e.g., De Dios Rodriguez v. Ole
                                                                           11   Mexican Foods, 2021 U.S. Dist. LEXIS 85725 (C.D. Cal. Apr. 22, 2021) ([Hon.
                                                                           12   Jesus G. Bernal] denying defendant’s motion to dismiss because the plaintiff
                                                                           13   plausibly alleged the statement “A Taste of Mexico!” and an image of a Mexican
                                                                           14   flag may reasonably convey the products are made in Mexico) (emphasis added);
                                                                           15   Shalikar v. Asahi Beer U.S.A., 2017 U.S. Dist. LEXIS 221388 (C.D. Cal. Oct. 16
                                                                           16   2017) ([Judge John A. Kronstadt] denying defendant’s motion to dismiss because
                                                                           17   plaintiff plausibly alleged that the “Asahi” brand name (Japanese word meaning
                                                                           18   “morning sun”) combined with various Japanese letters and phrases “could give rise
                                                                           19   to a reasonable inference or belief that the Product was produced in Japan,” even
                                                                           20   though the product label does not directly state “Made in Japan.”); Hesse v. Godiva
                                                                           21   Chocolatier, Inc., 463 F. Supp. 3d 453 (S.D.N.Y. 2020) (denying defendant’s
                                                                           22   motion to dismiss because the court could not conclude, as a matter of law, that no
                                                                           23   reasonable consumer would view the “Belgium 1926” label to mean the chocolate
                                                                           24   products were manufactured in Belgium); Peacock v. Pabst Brewing Co., LLC, 491
                                                                           25
                                                                           26   2
                                                                                  See Federal Trade Commission, Complying with the MADE IN USA STANDARD,
                                                                                https://www.ftc.gov/system/files/documents/plain-language/bus03-complying-
                                                                           27
                                                                                made-usa-standard.pdf. (last visited Sep. 7, 2022); see also generally 16 C.F.R. §
                                                                           28   323.2—Made in USA Labeling; 62 FR 63756-01, 1997 WL 737641.
                                                                                3
                                                                                  Id.
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                                                                            1   F. Supp. 3d 713 (E.D. Cal. Oct. 1, 2020) (holding defendant’s “Olympia Beer”
                                                                            2   brand name, coupled with an image of a waterfall that looked “just like” a waterfall
                                                                            3   from Olympia, Washington, could deceive reasonable consumers, even though the
                                                                            4   packaging did not contain a map pinpointing the alleged misrepresentation or an
                                                                            5   explicit statement regarding origin (emphasis added); “at this early stage, the Court
                                                                            6   must take Plaintiff’s allegations as true and draw all reasonable inferences in his
                                                                            7   favor. Although Olympia’s packaging does not contain a map pinpointing the
                                                                            8   alleged misrepresentation or an explicit statement regarding origin, Plaintiff alleges
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                                                                            9   enough facts to draw a reasonable inference that a reasonable consumer would
                                                                           10   believe Olympia Beer is brewed with water from the Olympia area of
                                                                           11   Washington.”); Broomfield v. Craft Brew Alliance, Inc., 2017 U.S. Dist. LEXIS
                                                                           12   142572 (N.D. Cal. Sept. 1, 2017) (finding inexplicit packaging and labeling
                                                                           13   statements and imagery that related to Hawaii, when taken in context, “amount to
                                                                           14   specific and measurable representations that could deceive consumers into believing
                                                                           15   that they were purchasing beer made in Kona, Hawaii,” where such marketing
                                                                           16   claims included: a front label image of the Hawaiian island chain alongside the
                                                                           17   phrase “Liquid Aloha” and packaging imagery of hula dancers and nature
                                                                           18   associated with Hawaii (such as orchids, flowers, volcanoes, palm trees, surfers,
                                                                           19   canoes, waterfalls); “Hawaii is a state as well as a state of mind”) (emphasis
                                                                           20   added).
                                                                           21         28.   California law, FTC guidelines, and the overwhelming majority of case
                                                                           22   law show that accurate origin claims are important to consumers and that consumers
                                                                           23   are willing to pay a premium for products labeled as such.
                                                                           24         B.    Consumer Demand for Authentic Texas Products and Hot Sauce
                                                                           25         29.   Hot Sauce Background. Hot sauce is a $3 billion industry worldwide,4
                                                                           26
                                                                                4
                                                                                 Hot Sauce Market to Hit USD 4.72 Billion in 2029, Fortune Business Insights,
                                                                           27
                                                                                https://www.globenewswire.com/en/news-release/2022/05/19/2446546/0/en/Hot-
                                                                           28   Sauce-Market-to-Hit-USD-4-72-Billion-in-2029-Incising-Demand-for-Healthy-
                                                                                Appeasement-to-Spur-Product-Sale.html (last visited Sep. 12, 2022).
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                                                                            1   and a $1.5 billion industry in the United States alone. 5 The hot sauce industry is so
                                                                            2   large, in part, because of the wide variety of hot sauces there are for consumers to
                                                                            3   choose from.
                                                                            4         30.   Hot sauces often differ based on their particular style and geographic
                                                                            5   influence. In the United States, the most common (and familiar) style of hot sauce is
                                                                            6   the “Louisiana-style” hot sauce.6 Louisiana-style hot sauce is defined by its
                                                                            7   combination of ingredients—vinegar, chiles, and salt—which are pureed and
                                                                            8   fermented.7 Many of the most popular hot sauce brands are Louisiana-style hot
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                                                                            9   sauces: Tabasco®, Frank’s Red Hot®, and, notably, Texas Pete®. 8
                                                                           10         31.   “Louisiana-style,” however, is purely a reference to the combination of
                                                                           11   ingredients used to create a hot sauce; it does not indicate either (1) that the product
                                                                           12   was made in Louisiana, or (2) the ingredients used in the product came from
                                                                           13   Louisiana. For example, Mexican hot sauce brands, like Cholula® and Valentina®,
                                                                           14   are often classified as Louisiana-style hot sauces because of their combination of
                                                                           15   peppers, vinegar, and salt. 9 So, a Mexican hot sauce may be Louisiana-style hot
                                                                           16   sauce because of its general formula, but the flavor profile is uniquely Mexican
                                                                           17   because of the source of peppers used to make the product (Mexico is home to many
                                                                           18
                                                                           19
                                                                           20
                                                                           21   5
                                                                                  Hot Sauce Production in the US, IBIS WORLD,
                                                                           22   https://www.ibisworld.com/industry-statistics/market-size/hot-sauce-production-
                                                                                unitedstates/#:~:text=The%20market%20size%2C%20measured%20by,decline%20
                                                                           23   %2D0.4%25%20in%202021 (last visited Sep. 7, 2022).
                                                                           24   6
                                                                                  Sammy Goldfien, The Hot Sauce Field Guide,
                                                                                https://www.foodandwine.com/lifestyle/hot-sauce-field-guide (last visited Sep. 7,
                                                                           25
                                                                                2022).
                                                                                7
                                                                           26     Id.
                                                                                8
                                                                                  Id.
                                                                           27   9
                                                                                  Id. See also Aaron Hutcherson, A Hot Sauce Guide with Tips for how to use 8
                                                                           28   Common Styles, https://www.washingtonpost.com/food/2021/06/18/hot-sauce-
                                                                                styles-guide/ (last visited Sep. 7, 2022).
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                                                                            1   native peppers),10 the ratio of the ingredients used, and the manufacturing location. 11
                                                                            2   To illustrate, Valentina® hot sauce is a Louisiana-style hot sauce (its four primary
                                                                            3   ingredients are water, chili peppers, vinegar, and salt),12 but Valentina® is correctly
                                                                            4   labeled as a “Mexican Hot Sauce” because the product is made in Mexico.13
                                                                            5         32.   Texas Hot Sauce and History. A hot sauce is distinctly “Texas” if it is
                                                                            6   made in Texas, using Texas ingredients and flavor profiles. Texas hot sauce is not a
                                                                            7   “style” of hot sauce like Louisiana-style sauces. A hot sauce can be Louisiana-style
                                                                            8   without being made in Louisiana or containing Louisiana ingredients. Texas hot
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                                                                            9   sauces, on the other hand, must be either made in Texas from ingredients sourced
                                                                           10   from Texas. A Texas hot sauce can be Louisiana-style, but it must have its own
                                                                           11   unique Texas influence and roots. 14
                                                                           12         33.   Texas foods and flavors, like many other things in Texas, are unique to
                                                                           13   their geographic location and culture. For example, Texas’s hot, dry climate is ideal
                                                                           14   for pepper production. 15 For this reason, the pepper has become the backbone for a
                                                                           15   great deal of Texas cuisine. To illustrate, the chiltepin pepper, the only wild chili
                                                                           16   that is native to the United States, was designated the official native pepper of Texas
                                                                           17   in 1997. 16 Additionally, Texas declared the jalapeño its official state pepper in
                                                                           18
                                                                                10
                                                                                   Refining Fire Chiles, https://www.superhotchiles.com/native-
                                                                           19
                                                                                chiles/?v=7516fd43adaa, (last visited Sep. 7, 2022).
                                                                           20   11
                                                                                   Hutcherson, supra note 9 (Mexican hot sauces are slightly less acidic, and
                                                                                therefore have more flavor from the chiles and slightly less tang).
                                                                           21   12
                                                                                   Valentina website: https://www.salsavalentina.com (last visited Sep. 7, 2022).
                                                                           22   13
                                                                                   Id.
                                                                           23
                                                                                14
                                                                                   Hot Sauce, TexasFood.com, https://www.texasfood.com/Hot-Sauce/ (last visited
                                                                                Aug. 23, 2022) (“Hot sauces made in Texas are typically Louisiana style, vinegar
                                                                           24   based.”); see also Sammy Goldfien, supra note 6 (classifying the Products a
                                                                           25   “Louisiana-style” hot sauce).
                                                                                15
                                                                                   Joseph Masabni, Peppers, TEXAS A&M AGRILIFE EXTENSION,
                                                                           26   https://agrilifeextension.tamu.edu/library/gardening/peppers/ (last visited Sep. 7,
                                                                           27   2022).
                                                                                16
                                                                                   Chiltepin Pepper Guide: Heat, Flavor, Uses,
                                                                           28   https://www.pepperscale.com/chiltepin-pepper/ (last visited Sep. 7, 2022);

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                                                                            1   1995. 17 The only other U.S. state that has declared a pepper as a state symbol is
                                                                            2   New Mexico.
                                                                            3         34.   Texas is also known for its unique “Tex-Mex” cuisine, a distinctly
                                                                            4   Texan fusion of Spanish and Native American elements.18 Before Europeans arrived
                                                                            5   in the 1500’s, the territory now known as Texas was inhabited by Native
                                                                            6   Americans. 19 When the Spanish settlors arrived, Texas became a part of a Spanish
                                                                            7   colony known as “New Spain.”20 When Texas officially won its independence and
                                                                            8   became a U.S. state in 1845, it brought with it generations of blended Native
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                                                                            9   American and Spanish tradition.21 This tradition led to many Tex-Mex classics like
                                                                           10   chili, nachos, enchiladas, and fajitas—foods that were originally considered
                                                                           11   Mexican dishes but eventually gave way to American influence. 22
                                                                           12         35.   Hot sauce is closely associated with Tex-Mex cuisine. Since Tex-Mex
                                                                           13   cuisine heavily relies on the use of chili peppers and spice, this cuisine lends itself
                                                                           14   well to sauces made with similar flavor compositions. 23
                                                                           15         36.   After crafting a flavor profile that is uniquely Texas over several
                                                                           16   hundred years, it is no surprise that Texas takes great pride in its hot sauce. Texas
                                                                           17   holds many festivals dedicated to its hot sauce and peppers (e.g., Texas Hot Sauce
                                                                           18   Festival, Hot Pepper Festival, Fredericksburg Hot Sauce Festival, and Zest Fest) to
                                                                           19   exchange recipes, advertise new products, and convene in honor of a shared interest
                                                                           20
                                                                                Chiltepin, Texas State Native Pepper, https://statesymbolsusa.org/symbol-official-
                                                                           21   item/texas/state-food-agriculture-symbol/chiltepin (last visited Sep. 7, 2022).
                                                                           22   17
                                                                                    Jalapeño, Texas State Pepper, https://statesymbolsusa.org/symbol-official-
                                                                                item/texas/state-food-agriculture-symbol/jalapeño (last visited Sep. 7, 2022).
                                                                           23   18
                                                                                   Tracing the History of Tex-Mex, https://www.history.com/news/tracing-the-
                                                                           24   history-of-tex-mex (last visited Sep. 7, 2022).
                                                                                19
                                                                                   Id.
                                                                           25   20
                                                                                   Id.
                                                                           26   21
                                                                                   Id.
                                                                                22
                                                                                    Id.
                                                                           27   23
                                                                                    What is Tex-Mex Food—And What Makes This Style Iconic?
                                                                           28   https://www.tasteofhome.com/article/what-is-tex-mex-food/ (last visited September
                                                                                7, 2022).
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                                                                            1   of the condiment.24
                                                                            2         37.      Given that the flavors of Texas are so iconic, it is easy to see why there
                                                                            3   is consumer appeal for Texas-made products. Ultimately, Defendant trades on the
                                                                            4   reputation and fascination of Texas by giving consumers the impression that its
                                                                            5   Products are Texas-made, when the truth is, there is nothing “Texas” about them.
                                                                            6         C.       The Products Are not Made in “Texas” or With Texas Ingredients
                                                                            7         38.      Defendant’s labeling and advertising campaign is overloaded with
                                                                            8   references to Texas. Through this false and deceptive labeling scheme, Defendant
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                                                                            9   intentionally and strategically misleads consumers into believing that the Products
                                                                           10   are made in Texas.
                                                                           11         39.      False and Deceptive Brand Name. Defendant’s “Texas Pete” brand
                                                                           12   name, which is featured in large, prominent, italicized font, front-and-center on each
                                                                           13   of the Products’ front labels, misleads reasonable consumers to believe that the
                                                                           14   Products are made in Texas from ingredients sourced from Texas.
                                                                           15         40.      Other False and Deceptive Label Attributes. Right above the “Texas
                                                                           16   Pete” brand name/logo, Defendant prominently places a stereotypically white Texas
                                                                           17   “lone star,” reminiscent of the Texas state flag. Texas is uniquely associated with
                                                                           18   this single white star; indeed, the flag is commonly referred to as the “Lone Star
                                                                           19   Flag” and it gave rise to the state’s equally renowned, official nickname: “The Lone
                                                                           20   Star State.”
                                                                           21         41.      Defendant also prominently displays a notorious Texan cowboy
                                                                           22   throwing a lasso on the front label of the Products. This cowboy logo is also etched
                                                                           23   into the glass directly on the front of the bottle.
                                                                           24         42.      The cowboy and lone star symbols are famously and inexorably linked
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                                                                                  World Calendar of Hot Sauce Festivals, CRAFT HOT SAUCE (June 24, 2021),
                                                                                https://info.crafthotsauce.com/world-calendar-of-hot-sauce-festivals/.
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                                                                            1   to the state of Texas,25 especially when, viewed in context, they are featured
                                                                            2   alongside a brand name as geographically specific as “Texas Pete.”
                                                                            3         43.   North Carolina Manufacturing. Defendant manufactures the Products
                                                                            4   in Winston-Salem, North Carolina, and has since the inception of the brand.
                                                                            5         44.   Non-Texas Ingredients. Defendant uses ingredients that are not
                                                                            6   sourced from Texas to manufacture the Products. In fact, on its website, Defendant
                                                                            7   readily admits having no connection to Texas, while it is decidedly not forthcoming
                                                                            8   about this on the Products or elsewhere at the point of purchase.
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                                                                            9         45.   In short, despite advertising and labeling the Products as “Texas”
                                                                           10   products, there is nothing Texas about the Products whatsoever.
                                                                           11         46.   Defendant continues to profit from its deceptive labeling and advertising
                                                                           12   of the Products as hot sauces made in Texas at the expense of unsuspecting
                                                                           13   consumers who pay a premium for authenticity.
                                                                           14         D.    Defendant Knows Its Labeling and Advertising Are Misleading to
                                                                           15               the Reasonable Consumer
                                                                           16         47.   Consumers expect to receive truthfully labeled goods from a reliable,
                                                                           17   well-known brand like Texas Pete. Defendant has been manufacturing and selling
                                                                           18   the Products for nearly a century. Relying on this goodwill, Defendant intentionally
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                                                                           20   25
                                                                                  See, e.g., Authentic Texas Cowboy Experience, LET’S TEXAS,
                                                                                https://www.traveltexas.com/things-to-do/western-experience/where-to-go-for-an-
                                                                           21   authentic-texas-cowboy-experience/ (last visited Sep. 7, 2022) (“cowboy culture in
                                                                           22   Texas has a long and proud history.”); Cowboys Through History, TEXAS
                                                                                HIGHWAYS, https://texashighways.com/travel-news/a-visual-history-of-cowboys-in-
                                                                           23   texas/ (last visited Sep. 7, 2022); TEXAS COWBOY HALL OF FAME,
                                                                           24   https://www.tchof.com/ (last visited September 7, 2022) (“Texas Cowboy Hall of
                                                                                Fame honors those individuals who have shown excellence in competition, business
                                                                           25
                                                                                and support of rodeo and western lifestyle in Texas.”); Cowboy Capital of the
                                                                           26   World, BANDERA COWBOY CAPITAL, https://www.banderacowboycapital.com/ (last
                                                                                visited Sep. 7, 2022); Cowboys, TEXAS PARKS & WILDLIFE,
                                                                           27
                                                                                https://tpwd.texas.gov/education/resources/keep-texas-wild/vaqueros-and-
                                                                           28   cowboys/cowboys (last visited Sep. 7, 2022). Texas is also home to the world-
                                                                                famous NFL franchise, the Dallas Cowboys.
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                                                                            1   misleads consumers in California and nationwide to believe that the Products are
                                                                            2   Texas products.
                                                                            3           48.   Defendant’s Website. Defendant admits that its Products are advertised
                                                                            4   as Texas Products. On the “About” tab on Defendant’s website, Defendant admits
                                                                            5   that it knows (and has always known) its Product labeling is false and deceptive.
                                                                            6   Defendant asks website visitors, “[s]o how is it that a tasty red pepper sauce made in
                                                                            7   North Carolina happens to be named ‘Texas Pete’ anyway?” The answer is simple:
                                                                            8   when trying to think of a name, Defendant’s founders chose Texas because it “had a
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                                                                            9   reputation for spicy cuisine.” In revealing the thought process behind its brand
                                                                           10   name, Defendant admits that Texas’s reputation was one they were trying to mimic
                                                                           11   and capitalize on when creating their brand. A true and correct image taken from
                                                                           12   Defendant’s Website is depicted below. 26
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                                                                                     https://texaspete.com/about/
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                                                                            1         49.   Another true and correct screenshot of Defendant’s website, which
                                                                            2   highlights an article featuring this admission, is reproduced below.27 The article
                                                                            3   starts out, “[w]ith a name like Texas Pete, one would think the famed hot sauce is
                                                                            4   manufactured somewhere in the Lone Star state . . .”
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                                                                           18         50.   Reasonable Consumer’s Perception. Defendant’s labeling and
                                                                           19   advertising deceives reasonable consumers, like Plaintiff, into believing that the
                                                                           20   Products are Texas products, i.e., their ingredients are sourced in Texas, and the
                                                                           21   finished Products are manufactured in Texas.
                                                                           22         51.   In fact, consumers are shocked when they discover the Products are not
                                                                           23   in fact made in Texas. One Tik Tok user exclaimed: “Stop! Texas Pete isn’t from
                                                                           24   Texas? You’re just making things up now . . . why isn’t it called [] Carolina Pete’s
                                                                           25   or something?”28
                                                                           26   27
                                                                                   https://texaspete.com/how-texas-pete-got-its-name-the-legend-of-texas-pete-sort-
                                                                           27   of-2013/
                                                                                28
                                                                                   See @ncmuseumofhistory, Tik-Tok,
                                                                           28   https://www.tiktok.com/@ncmuseumhistory/video/7054985211725073711?is_from

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                                                                           16         52.   Similarly, another author stated that her “mind [was] blown” when she
                                                                           17   found out that the Products are not from Texas.29
                                                                           18         53.   There is no indication on the Products’ front labels that they are
                                                                           19   manufactured outside of Texas, let alone in North Carolina.
                                                                           20         54.   Consumers do not view the back label of the Products when purchasing
                                                                           21   everyday food items such as hot sauce. The Product’s label and advertising indicates
                                                                           22   it is a Texas hot sauce manufactured in Texas with ingredients sourced from Texas.
                                                                           23   So, Plaintiff did not view the Product’s back label prior to purchasing the Product.
                                                                           24         55.   By falsely and deceptively labeling its Products, Defendant not only
                                                                           25   takes advantage of the Texas reputation, but it goes against honest industry practice
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                                                                                _webapp=v1&item_id=7054985211725073711&web_id=6957459250235344390
                                                                           27   (last visited Sep. 7, 2022).
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                                                                                   See Erica Landis, Texas Pete Hot Sauce Isn’t From The Lone Star State, WIDE
                                                                           28   OPEN EATS, https://www.wideopeneats.com/texas-pete-hot-sauce/ (last visited Sep.
                                                                                12, 2022).
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                                                                            1   and unfairly competes with its lawfully acting competitors.
                                                                            2         56.   Reliance. During the course of its false, misleading, and deceptive
                                                                            3   advertising campaign, Defendant has sold millions of the Products based upon its
                                                                            4   misrepresentations. Plaintiff and the Class have suffered injury in fact and have lost
                                                                            5   money as a result of Defendant’s false representations.
                                                                            6         57.   Because of the history and popularity of Texas hot sauce, the Products’
                                                                            7   false and deceptive labeling would lead the reasonable consumer to believe the
                                                                            8   Products are in fact from Texas.
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                                                                            9         58.   No Legitimate Business Reason. There is no practical reason for the
                                                                           10   false or misleading labeling and advertising of the Products, other than to mislead
                                                                           11   consumers as to the actual origin of the Products. Through such false and
                                                                           12   misleading advertising, consumers purchase Texas Pete Products incorrectly
                                                                           13   thinking they are of Texan origin, thus providing Defendant with a financial
                                                                           14   windfall.
                                                                           15         59.   Even if a consumer conducted an extremely close review of the
                                                                           16   Products’ back labels, nothing would overcome the reasonable impression given by
                                                                           17   the front label that the Products are indeed made in Texas. While the Product states
                                                                           18   the name and location of TW Garner Food Co., it does not say “made in” or
                                                                           19   “manufactured in” North Carolina anywhere on the label. Rather, it says “Product of
                                                                           20   the U.S.A.,” which merely conforms with the reasonable understanding that the
                                                                           21   Product is made in Texas. A true and correct image of the Products’ back label is
                                                                           22   depicted below:
                                                                           23
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                                                                           27         60.   Defendant’s own interpretation of the Products’ labels as indicative of
                                                                           28   Texas origin indicates a probability that a significant portion of the general

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                                                                            1   consuming public, acting reasonably under the circumstances, would have the same
                                                                            2   interpretation: that the Products are manufactured in Texas, using Texas ingredients.
                                                                            3         61.   At all relevant times, Defendant has packaged, advertised, marketed,
                                                                            4   distributed, and sold the Products to consumers throughout California and the nation
                                                                            5   based on the misrepresentation that the Products are made in Texas, when they
                                                                            6   actually are not—Texas Pete Products are made in North Carolina.
                                                                            7         E.    Defendant’s Conduct Unfairly Harms Competition
                                                                            8         62.   The demand for Texas hot sauce is steadily increasing and the market is
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                                                                            9   poised for growth.
                                                                           10         63.   New companies, often with significantly fewer resources than
                                                                           11   Defendant, are working hard to break into a market already heavily saturated with
                                                                           12   competition.
                                                                           13         64.   Yet many of these companies have a hard time competing with major,
                                                                           14   established companies like Defendant—since consumers are unaware what
                                                                           15   distinguishes these “Texas” hot sauces.
                                                                           16         65.   Other hot sauce brands that advertise an association with Texas are, in
                                                                           17   fact, made in Texas.
                                                                           18         66.   For example, Truly Texas hot sauces have a similar “Texas” brand name
                                                                           19   and feature portions of the Texas state flag. But Truly Texas, true to its brand name,
                                                                           20   are manufactured in Houston, Texas. A true and correct image of the Truly Texas,
                                                                           21   Texas Fire Water product is depicted below:30
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                                                                                  https://trulytexasfoods.com/product/texas-fire-water-hot-pepper-sauce/ (last
                                                                                visited Sep. 7, 2022).
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                                                                           22         67.   Similarly, Tears of Joy’s “August in Austin” hot sauce is another
                                                                           23   popular Texas hot sauce. This hot sauce contains even less Texas imagery on its
                                                                           24   front label than the Products, but Tears of Joy is actually made in Texas, as
                                                                           25   advertised. A true and correct image of the Tears of Joy’s August in Austin product
                                                                           26   is depicted below:31
                                                                           27
                                                                           28    https://www.tearsofjoysauces.com/products/tears-of-joy-hot-sauce-shop-august-in-
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                                                                                austin-hot-sauce?variant=25735899976 (last visited September 7, 2022).
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                                                                           17         68.   Makers of authentic Texas-made hot sauces are losing out on a large
                                                                           18   portion of the consumer market, because many people purchase the Products,
                                                                           19   instead of lawful competitor products, due to Defendant’s false and deceptive
                                                                           20   labeling.
                                                                           21         69.   This stifling impact on competition harms consumers and law-abiding
                                                                           22   brands who play by the rules and threatens market competition and growth. It also
                                                                           23   leaves consumers with less choice, making it more likely they will be duped into
                                                                           24   buying Texas Pete, reasonably, but incorrectly, thinking it is the authentic Texas hot
                                                                           25   sauce they desire. Less choice also causes consumers to pay higher prices at the
                                                                           26   cash register.
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                                                                            1         F.      The Products are Substantially Similar
                                                                            2         70.     As described herein, Plaintiff purchased the Texas Pete Original Hot
                                                                            3   Sauce (the “Purchased Product”). The additional Products (collectively, the
                                                                            4   “Unpurchased Products”) are substantially similar to the Purchased Product.
                                                                            5              a. Defendant. All Products are manufactured, sold, marketed, advertised,
                                                                            6                 labeled, and packaged by Defendant.
                                                                            7              b. Brand. All Products are sold under the same brand name: Texas Pete®.
                                                                            8              c. Purpose. All Products are hot sauces used to provide flavoring to food
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                                                                            9                 (Texas-style flavor).
                                                                           10              d. Deceptive Labeling. All Products implement the same deceptive
                                                                           11                 labeling—including the brand name “Texas Pete,” the lone star image,
                                                                           12                 and the Texas cowboy image. But none of the Products are made in
                                                                           13                 Texas or with Texas ingredients.
                                                                           14              e. Misleading Effect. The misleading effect of the labeling and marketing
                                                                           15                 on consumers is the same for all Products—consumers over-pay a
                                                                           16                 premium for authentic Texas products but receive Products that are not
                                                                           17                 made in Texas or using Texas ingredients in violation of well-
                                                                           18                 established state and federal law.
                                                                           19         G.      No Adequate Remedy at Law.
                                                                           20         71.     Plaintiff and members of the Class are entitled to equitable relief as no
                                                                           21   adequate remedy at law exists.
                                                                           22                 a.    Broader Statutes of Limitations. The statutes of limitations for
                                                                           23                       the causes of action pled herein vary. The limitations period is
                                                                           24                       four years for claims brought under the UCL, which is one year
                                                                           25                       longer than the statutes of limitations under the FAL and CLRA.
                                                                           26                       In addition, the statutes of limitations vary for certain states’ laws
                                                                           27                       for breach of warranty and unjust enrichment/restitution, between
                                                                           28                       approximately 2 and 6 years. Thus, California Subclass members

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                                                                            1                     who purchased the Products more than 3 years prior to the filing
                                                                            2                     of the complaint will be barred from recovery if equitable relief
                                                                            3                     were not permitted under the UCL. Similarly, Nationwide Class
                                                                            4                     members who purchased the Products prior to the furthest reach-
                                                                            5                     back under the statute of limitations for breach of warranty, will
                                                                            6                     be barred from recovery if equitable relief were not permitted for
                                                                            7                     restitution/unjust enrichment.
                                                                            8               b.    Broader Scope of Conduct. In addition, the scope of actionable
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                                                                            9                     misconduct under the unfair prong of the UCL is broader than the
                                                                           10                     other causes of action asserted herein. It includes, for example,
                                                                           11                     Defendant’s overall unfair marketing scheme to promote and
                                                                           12                     brand the Products as Texas products, across a multitude of media
                                                                           13                     platforms, including the Products’ labels and packaging, over a
                                                                           14                     long period of time, in order to gain an unfair advantage over
                                                                           15                     competitor products and to take advantage of consumers’ desire
                                                                           16                     for products that comport with the labeling and advertising. The
                                                                           17                     UCL also creates a cause of action for violations of law (such as
                                                                           18                     statutory or regulatory requirements and court orders related to
                                                                           19                     similar representations and omissions made on the type of
                                                                           20                     products at issue). Thus, Plaintiff and Class members may be
                                                                           21                     entitled to restitution under the UCL, while not entitled to
                                                                           22                     damages under other causes of action asserted herein (e.g., the
                                                                           23                     FAL requires actual or constructive knowledge of the falsity; the
                                                                           24                     CLRA is limited to certain types of plaintiffs (an individual who
                                                                           25                     seeks or acquires, by purchase or lease, any goods or services for
                                                                           26                     personal, family, or household purposes) and other statutorily
                                                                           27                     enumerated conduct). Similarly, unjust enrichment/restitution is
                                                                           28                     broader than breach of warranty. For example, in some states,

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                                                                            1                     breach of warranty may require privity of contract or pre-lawsuit
                                                                            2                     notice, which are not typically required to establish unjust
                                                                            3                     enrichment/restitution. Thus, Plaintiff and Class members may be
                                                                            4                     entitled to recover under unjust enrichment/restitution, while not
                                                                            5                     entitled to damages under breach of warranty, because they
                                                                            6                     purchased the products from third-party retailers or did not
                                                                            7                     provide adequate notice of a breach prior to the commencement
                                                                            8                     of this action.
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                                                                            9               c.    Injunctive Relief to Cease Misconduct and Dispel
                                                                           10                     Misperception. Injunctive relief is appropriate on behalf of
                                                                           11                     Plaintiff and members of the Class because Defendant continues
                                                                           12                     to misrepresent the Products as alleged herein. Injunctive relief is
                                                                           13                     necessary to prevent Defendant from continuing to engage in the
                                                                           14                     unfair, fraudulent, and/or unlawful conduct described herein and
                                                                           15                     to prevent future harm—none of which can be achieved through
                                                                           16                     available legal remedies (such as monetary damages to
                                                                           17                     compensate past harm). Further, injunctive relief, in the form of
                                                                           18                     affirmative disclosures is necessary to dispel the public
                                                                           19                     misperception about the Products that has resulted from years of
                                                                           20                     Defendant’s unfair, fraudulent, and unlawful marketing efforts.
                                                                           21                     Such disclosures would include, but are not limited to, publicly
                                                                           22                     disseminated statements that the Products labeling and advertising
                                                                           23                     is not true and providing accurate information about the Products’
                                                                           24                     true nature; and/or requiring prominent qualifications and/or
                                                                           25                     disclaimers on the Products’ front label concerning the Products’
                                                                           26                     true nature. An injunction requiring affirmative disclosures to
                                                                           27                     dispel the public’s misperception, and prevent the ongoing
                                                                           28                     deception and repeat purchases based thereon, is also not

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                                                                            1                     available through a legal remedy (such as monetary damages). In
                                                                            2                     addition, Plaintiff is currently unable to accurately quantify the
                                                                            3                     damages caused by Defendant’s future harm, because discovery
                                                                            4                     and Plaintiff’s investigation has not yet completed, rendering
                                                                            5                     injunctive relief all the more necessary. For example, because the
                                                                            6                     court has not yet certified any class, the following remains
                                                                            7                     unknown: the scope of the class, the identities of its members,
                                                                            8                     their respective purchasing practices, prices of past/future Product
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                                                                            9                     sales, and quantities of past/future Product sales.
                                                                           10               d.    Public Injunction. Further, because a “public injunction” is
                                                                           11                     available under the UCL, damages will not adequately “benefit
                                                                           12                     the general public” in a manner equivalent to an injunction.
                                                                           13               e.    California vs. Nationwide Class Claims. Violation of the UCL,
                                                                           14                     FAL, and CLRA are claims asserted on behalf of Plaintiff and the
                                                                           15                     California Subclass against Defendant, while breach of warranty
                                                                           16                     and unjust enrichment/restitution are asserted on behalf of
                                                                           17                     Plaintiff and the Nationwide Class. Dismissal of farther-reaching
                                                                           18                     claims, such as restitution, would bar recovery for non-California
                                                                           19                     members of the Class. In other words, legal remedies available or
                                                                           20                     adequate under the California-specific causes of action (such as
                                                                           21                     the UCL, FAL, and CLRA) have no impact on this Court’s
                                                                           22                     jurisdiction to award equitable relief under the remaining causes
                                                                           23                     of action asserted on behalf of non-California putative class
                                                                           24                     members.
                                                                           25               f.    Procedural Posture—Incomplete Discovery & Pre-
                                                                           26                     Certification. Lastly, this is an initial pleading in this action and
                                                                           27                     discovery has not yet commenced and/or is at its initial stages. No
                                                                           28                     class has been certified yet. No expert discovery has commenced

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                                                                            1                      and/or completed. The completion of fact/non-expert and expert
                                                                            2                      discovery, as well as the certification of this case as a class action,
                                                                            3                      are necessary to finalize and determine the adequacy and
                                                                            4                      availability of all remedies, including legal and equitable, for
                                                                            5                      Plaintiff’s individual claims and any certified class or subclass.
                                                                            6                      Plaintiff therefore reserves his right to amend this complaint
                                                                            7                      and/or assert additional facts that demonstrate this Court’s
                                                                            8                      jurisdiction to order equitable remedies where no adequate legal
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                                                                            9                      remedies are available for either Plaintiff and/or any certified
                                                                           10                      class or subclass. Such proof, to the extent necessary, will be
                                                                           11                      presented prior to the trial of any equitable claims for relief and/or
                                                                           12                      the entry of an order granting equitable relief.
                                                                           13   VI.    CLASS ACTION ALLEGATIONS
                                                                           14         72.   Class Definition. Plaintiff brings this action as a class action pursuant to
                                                                           15   Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of himself and all
                                                                           16   others similarly situated, and as members of the Classes defined as follows:
                                                                           17
                                                                                      All residents of the United States who, within the applicable statute of
                                                                           18         limitations periods, purchased the Products for purposes other than resale
                                                                           19         (“Nationwide Class”); and

                                                                           20         All residents of California who, within four years prior to the filing of this
                                                                                      Complaint, purchased the Products for purposes other than resale (“California
                                                                           21
                                                                                      Subclass”).
                                                                           22
                                                                           23   (“Nationwide Class” and “California Subclass,” collectively, “Class”).

                                                                           24         73.   Class Definition Exclusions. Excluded from the Class are: (i)

                                                                           25   Defendant, its assigns, successors, and legal representatives; (ii) any entities in

                                                                           26   which Defendant has controlling interests; (iii) federal, state, and/or local

                                                                           27   governments, including, but not limited to, their departments, agencies, divisions,

                                                                           28   bureaus, boards, sections, groups, counsels, and/or subdivisions; and (iv) any

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                                                                            1   judicial officer presiding over this matter and person within the third degree of
                                                                            2   consanguinity to such judicial officer.
                                                                            3         74.   Reservation of Rights to Amend the Class Definition. Plaintiff
                                                                            4   reserves the right to amend or otherwise alter the class definition presented to the
                                                                            5   Court at the appropriate time in response to facts learned through discovery, legal
                                                                            6   arguments advanced by Defendant, or otherwise.
                                                                            7         75.   Numerosity. The Class is comprised of many thousands of persons
                                                                            8   throughout the State of California and nationwide. The Class is so numerous that
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                                                                            9   joinder of all members is impracticable and the disposition of their claims in a class
                                                                           10   action will benefit the parties and the Court.
                                                                           11         76.   Common Questions Predominate. There are numerous and substantial
                                                                           12   questions of law or fact common to all members of the Class that predominate over
                                                                           13   any individual issues. Included within the common questions of law or fact are:
                                                                           14            a. Whether Defendant engaged in unlawful, unfair, or deceptive business
                                                                           15               practices by advertising and selling the Products as alleged herein;
                                                                           16            b. Whether Defendant’s conduct of advertising and selling the Products as
                                                                           17               Texan when they are not made in Texas constitutes an unfair method of
                                                                           18               competition, or unfair or deceptive act or practice, in violation of Civil
                                                                           19               Code section 1750, et seq;
                                                                           20            c. Whether Defendant used deceptive representations in connection with
                                                                           21               the sale of the Products in violation of Civil Code section 1750, et seq.;
                                                                           22            d. Whether Defendant represented that the Products have characteristics or
                                                                           23               quantities that they do not have in violation of Civil Code section 1750,
                                                                           24               et seq.;
                                                                           25            e. Whether Defendant advertised the Products with intent not to sell them
                                                                           26               as advertised in violation of Civil Code section 1750, et seq.
                                                                           27
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                                                                            1            f. Whether Defendant’s labeling and advertising of the Products are untrue
                                                                            2               or misleading in violation of Business and Professions Code section
                                                                            3               17500, et seq.;
                                                                            4            g. Whether Defendant knew or by the exercise of reasonable care should
                                                                            5               have known its labeling and advertising was and is untrue or misleading
                                                                            6               in violation of Business and Professions Code section 17500, et seq.;
                                                                            7            h. Whether Defendant’s conduct is an unfair business practice within the
                                                                            8               meaning of Business and Professions Code section 17200, et seq.;
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                                                                            9            i. Whether Defendant’s conduct is an unlawful business practice within
                                                                           10               the meaning of Business and Professions Code section 17200, et seq.;
                                                                           11            j. Whether Defendant’s conduct is a fraudulent business practice within
                                                                           12               the meaning of Business and Professions Code section 17200, et seq.;
                                                                           13            k. Whether Plaintiff and the Class paid more money for the Products than
                                                                           14               they actually received;
                                                                           15            l. How much more money Plaintiff and the Class paid for the Products
                                                                           16               than they actually received;
                                                                           17            m. Whether Defendant’s conduct constitutes breach of warranty;
                                                                           18            n. Whether Plaintiff and the Class are entitled to injunctive relief; and
                                                                           19            o. Whether Defendant was unjustly enriched by their unlawful conduct.
                                                                           20         77.   Typicality. Plaintiff’s claims are typical of the claims of the proposed
                                                                           21   Class, as the representations and omissions made by Defendant are uniform and
                                                                           22   consistent and are contained in advertisements and on packaging that was seen and
                                                                           23   relied on by Plaintiff and members of the class. Plaintiff’s and Class Members’
                                                                           24   claims arise from the same practices and course of conduct and are based on the
                                                                           25   same legal theories.
                                                                           26         78.   Adequacy. Plaintiff is an adequate representative of the Class he seeks
                                                                           27   to represent because his interests do not conflict with the interests of the Class
                                                                           28   Members Plaintiff seeks to represent. Plaintiff will fairly and adequately protect

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                                                                            1   Class Members’ interests and has retained counsel experienced and competent in the
                                                                            2   prosecution of complex class actions, including complex questions that arise in
                                                                            3   consumer protection litigation.
                                                                            4         79.   Superiority and Substantial Benefit: A class action is superior to other
                                                                            5   methods for the fair and efficient adjudication of this controversy, since individual
                                                                            6   joinder of all members of the Class is impracticable and no other group method of
                                                                            7   adjudication of all claims asserted herein is more efficient and manageable for at
                                                                            8   least the following reasons:
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                                                                            9            a. The claims presented in this case predominate over any questions of law
                                                                           10               or fact, if any exist at all, affecting any individual member of the Class;
                                                                           11            b. Absent a Class, the members of the Class will continue to suffer damage
                                                                           12               and Defendant’s unlawful conduct will continue without remedy while
                                                                           13               Defendant profits from and enjoy its ill-gotten gains;
                                                                           14            c. Given the size of individual Class Members’ claims, few, if any, Class
                                                                           15               Members could afford to or would seek legal redress individually for the
                                                                           16               wrongs Defendant committed against them, and absent Class Members
                                                                           17               have no substantial interest in individually controlling the prosecution of
                                                                           18               individual actions;
                                                                           19            d. When the liability of Defendant has been adjudicated, claims of all
                                                                           20               members of the Class can be administered efficiently and/or determined
                                                                           21               uniformly by the Court; and
                                                                           22            e. This action presents no difficulty that would impede its management by
                                                                           23               the Court as a class action, which is the best available means by which
                                                                           24               Plaintiff and Class Members can seek redress for the harm caused to
                                                                           25               them by Defendant.
                                                                           26         80.   Inconsistent Rulings. Because Plaintiff seeks relief for all members of
                                                                           27   the Class, the prosecution of separate actions by individual members would create a
                                                                           28

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                                                                            1   risk of inconsistent or varying adjudications with respect to individual members of
                                                                            2   the Class, which would establish incompatible standards of conduct for Defendant.
                                                                            3         81.      Injunctive/Equitable Relief. The prerequisites to maintaining a class
                                                                            4   action for injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met
                                                                            5   as Defendant has acted or refused to act on grounds generally applicable to the
                                                                            6   Class, thereby making appropriate final injunctive or equitable relief with respect to
                                                                            7   the Class as a whole.
                                                                            8         82.      Manageability. Plaintiff and Plaintiff’s counsel are unaware of any
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                                                                            9   difficulties that are likely to be encountered in the management of this action that
                                                                           10   would preclude its maintenance as a class action.
                                                                           11                                         COUNT ONE
                                                                           12                      Violation of California Unfair Competition Law
                                                                           13                          (Cal. Bus. & Prof. Code §§ 17200, et seq.)
                                                                           14                             (On Behalf of the California Subclass)
                                                                           15         83.      Incorporation by Reference. Plaintiff repeats and re-alleges the
                                                                           16   allegations set forth in the preceding paragraphs and incorporates the same as if set
                                                                           17   forth herein at length.
                                                                           18         84.      California Subclass. Plaintiff brings this cause of action pursuant to
                                                                           19   Business and Professions Code Section 17200, et seq., on his own behalf and a
                                                                           20   California Subclass who purchased the Products within the applicable statute of
                                                                           21   limitations.
                                                                           22         85.      The UCL. California Business & Professions Code, sections 17200, et
                                                                           23   seq. (the “UCL”) prohibits unfair competition and provides, in pertinent part, that
                                                                           24   “unfair competition shall mean and include unlawful, unfair or fraudulent business
                                                                           25   practices and unfair, deceptive, untrue or misleading advertising.”
                                                                           26         86.      False Advertising Claims. Defendant in its advertising and packaging
                                                                           27   of the Products makes false and misleading statements regarding the quality and
                                                                           28   characteristics of the Products, particularly marketing and representing the Products

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                                                                            1   as Texan-made hot sauce. Such claims appear on the label, packaging, and
                                                                            2   advertising of the Products, which are sold at retailers in the State of California and
                                                                            3   across the nation, as well as on Defendant’s official website.
                                                                            4         87.   Deliberately False and Misleading. Defendant does not have any
                                                                            5   reasonable basis for its claims about the Products because the Products are not made
                                                                            6   in Texas. Defendant knew and knows that the Products are not truly or
                                                                            7   manufactured in Texas, yet Defendant intentionally advertised and marketed the
                                                                            8   Products to deceive reasonable consumers into believing that Products are made in
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                                                                            9   Texas.
                                                                           10         88.   False Advertising Claims Cause Purchase of Products. Defendant’s
                                                                           11   labeling and advertising of the Products led to, and continues to lead to, reasonable
                                                                           12   consumers, including Plaintiff, believing that the Products are made in Texas.
                                                                           13         89.   Injury in Fact. Plaintiff and the California Subclass have suffered
                                                                           14   injury in fact and have lost money or property as a result of and in reliance upon
                                                                           15   Defendant’s False Advertising Claims—namely Plaintiff and the California
                                                                           16   Subclass lost the purchase price for the Products they bought from the Defendant.
                                                                           17         90.   Conduct Violates the UCL. Defendant’s conduct, as alleged herein,
                                                                           18   constitutes unfair, unlawful, and fraudulent business practices pursuant to the UCL.
                                                                           19   The UCL prohibits unfair competition and provides, in pertinent part, that “unfair
                                                                           20   competition shall mean and include unlawful, unfair or fraudulent business practices
                                                                           21   and unfair, deceptive, untrue or misleading advertising.” Cal. Bus & Prof. Code §
                                                                           22   17200. In addition, Defendant’s use of various forms of advertising media to
                                                                           23   advertise, call attention to, or give publicity to the sale of goods or merchandise that
                                                                           24   are not as represented in any manner constitutes unfair competition, unfair,
                                                                           25   deceptive, untrue or misleading advertising, and an unlawful business practice
                                                                           26   within the meaning of Business and Professions Code Sections 17200 and 17531,
                                                                           27   which advertisements have deceived and are likely to deceive the consuming public,
                                                                           28   in violation of Business and Professions Code Section 17200.

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                                                                            1         91.   No Reasonably Available Alternatives/Legitimate Business
                                                                            2   Interests. Defendant failed to avail themselves of reasonably available, lawful
                                                                            3   alternatives to further their legitimate business interests.
                                                                            4         92.   Business Practice. All of the conduct alleged herein occurred and
                                                                            5   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of
                                                                            6   a pattern, practice and/or generalized course of conduct, which will continue on a
                                                                            7   daily basis until Defendant voluntarily alters its conduct or Defendant is otherwise
                                                                            8   ordered to do so.
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                                                                            9         93.   Injunction. Pursuant to Business and Professions Code Sections 17203
                                                                           10   and 17535, Plaintiff and the members of the California Subclass seek an order of
                                                                           11   this Court enjoining Defendant from continuing to engage, use, or employ its
                                                                           12   practice of labeling and advertising the sale and use of the Products. Likewise,
                                                                           13   Plaintiff and the members of the California Subclass seek an order requiring
                                                                           14   Defendant to disclose such misrepresentations, and to preclude Defendant’s failure
                                                                           15   to disclose the existence and significance of said misrepresentations.
                                                                           16         94.   Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           17   misconduct in violation of the UCL, Plaintiff and members of the California
                                                                           18   Subclass were harmed in the amount of the purchase price they paid for the
                                                                           19   Products. Further, Plaintiff and members of the California Subclass have suffered
                                                                           20   and continue to suffer economic losses and other damages including, but not limited
                                                                           21   to, the amounts paid for the Products, and any interest that would have accrued on
                                                                           22   those monies, in an amount to be proven at trial. Accordingly, Plaintiff seeks a
                                                                           23   monetary award for violation of the UCL in damages, restitution, and/or
                                                                           24   disgorgement of ill-gotten gains to compensate Plaintiff and the California Subclass
                                                                           25   for said monies, as well as injunctive relief to enjoin Defendant’s misconduct to
                                                                           26   prevent ongoing and future harm that will result.
                                                                           27         95.   Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                           28   cause of action for violation of the UCL on behalf of Plaintiff and the California

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                                                                            1   Subclass. Defendant’s unfair, fraudulent, and unlawful conduct described herein
                                                                            2   constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of
                                                                            3   punitive damages as permitted by law. Defendant’s misconduct is malicious as
                                                                            4   Defendant acted with the intent to cause Plaintiff and consumers to pay for Products
                                                                            5   that they were not, in fact, receiving. Defendant willfully and knowingly
                                                                            6   disregarded the rights of Plaintiff and consumers as Defendant was, at all times,
                                                                            7   aware of the probable dangerous consequences of its conduct and deliberately failed
                                                                            8   to avoid misleading consumers, including Plaintiff. Defendant’s misconduct is
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                                                                            9   oppressive as, at all relevant times, said conduct was so vile, base, and/or
                                                                           10   contemptible that reasonable people would look down upon it and/or otherwise
                                                                           11   would despise such corporate misconduct. Said misconduct subjected Plaintiff and
                                                                           12   consumers to cruel and unjust hardship in knowing disregard of their rights.
                                                                           13   Defendant’s misconduct is fraudulent as Defendant intentionally misrepresented
                                                                           14   and/or concealed material facts with the intent to deceive Plaintiff and consumers.
                                                                           15   The wrongful conduct constituting malice, oppression, and/or fraud was committed,
                                                                           16   authorized, adopted, approved, and/or ratified by officers, directors, and/or
                                                                           17   managing agents of Defendant.
                                                                           18                                   A. “Unfair” Prong
                                                                           19         96.   Unfair Standard. Under California’s False Advertising Law, Cal. Bus.
                                                                           20   & Prof. Code Section 17200, et seq., a challenged activity is “unfair” when “any
                                                                           21   injury it causes outweighs any benefits provided to consumers and the injury is one
                                                                           22   that the consumers themselves could not reasonably avoid.” Camacho v. Auto Club
                                                                           23   of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
                                                                           24         97.   Injury. Defendant’s action of labeling and advertising the Products as if
                                                                           25   they were made in Texas when they were not does not confer any benefit to
                                                                           26   consumers. Defendant’s action of labeling and advertising the Products as if they
                                                                           27   were made in Texas when they were not causes injuries to consumers who do not
                                                                           28   receive Products they reasonably expected.

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                                                                            1         98.   Balancing Test. Some courts conduct a balancing test to decide if a
                                                                            2   challenged activity amounts to unfair conduct under California Business and
                                                                            3   Professions Code Section 17200. In so doing, they “weigh the utility of the
                                                                            4   Defendant’s conduct against the gravity of the harm to the alleged victim.” Davis v.
                                                                            5   HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).
                                                                            6         99.   No Utility. Here, Defendant’s conduct of labeling the Products as
                                                                            7   alleged herein when the Products are not made or manufactured in Texas has no
                                                                            8   utility and financially harms purchasers. Thus, the utility of Defendant’s conduct is
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                                                                            9   vastly outweighed by the gravity of harm.
                                                                           10         100. Legislative Declared Policy. Some courts hold that “unfairness must be
                                                                           11   tethered to some legislative declared policy or proof of some actual or threatened
                                                                           12   impact on competition.” Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735
                                                                           13   (9th Cir. 2007).
                                                                           14         101. The California Legislature has outlawed making misleading claims of
                                                                           15   origin in connection with consumer good. Cal. Civ. Code § 1770(a)(4). Therefore,
                                                                           16   Defendant’s unfair conduct is tethered to the legislative declared policy regarding
                                                                           17   misleading claims of geographic origin.
                                                                           18         102. Unfair Conduct. Defendant’s labeling and advertising of the Products,
                                                                           19   as alleged herein, is false, deceptive, misleading, and unreasonable, and constitutes
                                                                           20   unfair conduct. Defendant knew or should have known of its unfair conduct.
                                                                           21   Defendant’s misrepresentations constitute an unfair business practice within the
                                                                           22   meaning of California Business and Professions Code Section 17200.
                                                                           23         103. Reasonably Available Alternatives. There existed reasonably available
                                                                           24   alternatives to further Defendant’s legitimate business interests, other than the
                                                                           25   conduct described herein. Defendant could have refrained from labeling the
                                                                           26   Products as alleged herein.
                                                                           27         104. Defendant’s Wrongful Conduct. All of the conduct alleged herein
                                                                           28   occurs and continues to occur in Defendant’s business. Defendant’s wrongful

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                                                                            1   conduct is part of a pattern or generalized course of conduct repeated on thousands
                                                                            2   of occasions daily.
                                                                            3         105. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                            4   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                            5   from continuing to engage, use, or employ its practices of labeling the Products as
                                                                            6   alleged herein.
                                                                            7         106. Causation/Damages. Plaintiff and the California Subclass have
                                                                            8   suffered injury in fact and have lost money as a result of Defendant’s unfair
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                                                                            9   conduct. Plaintiff and the California Subclass paid an unwarranted premium for
                                                                           10   these Products. Specifically, Plaintiff and the California Subclass paid for Texas
                                                                           11   Pete Products that are not made in Texas. Plaintiff and the California Subclass
                                                                           12   would not have purchased the Products, or would have paid substantially less for the
                                                                           13   Products, if they had known that the Products’ advertising and labeling were
                                                                           14   deceptive. Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of
                                                                           15   ill-gotten gains pursuant to the UCL.
                                                                           16                                 B. “Fraudulent” Prong
                                                                           17         107. Fraud Standard. The UCL considers conduct fraudulent (and prohibits
                                                                           18   said conduct) if it is likely to deceive members of the public. Bank of the West v.
                                                                           19   Superior Court, 2 Cal. 4th 1254, 1267 (1992).
                                                                           20         108. Fraudulent & Material Challenged Representations. Defendant
                                                                           21   labeled and advertised the Products as alleged herein with the intent to sell the
                                                                           22   Products to consumers, including Plaintiff and the California Subclass. The labeling
                                                                           23   and advertising as alleged herein is false and Defendant knew or should have known
                                                                           24   of its falsity. The labeling and advertising is likely to deceive consumers into
                                                                           25   purchasing the Products because they are material to the average, ordinary, and
                                                                           26   reasonable consumer.
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                                                                            1         109. Fraudulent Business Practice. As alleged herein, the
                                                                            2   misrepresentations by Defendant constitute a fraudulent business practice in
                                                                            3   violation of California Business & Professions Code Section 17200.
                                                                            4         110. Reasonable and Detrimental Reliance. Plaintiff and the California
                                                                            5   Subclass reasonably and detrimentally relied on the material and false labeling and
                                                                            6   advertising to their detriment in that they purchased the Products.
                                                                            7         111. Reasonably Available Alternatives. Defendant had reasonably
                                                                            8   available alternatives to further its legitimate business interests, other than the
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                                                                            9   conduct described herein. Defendant could have refrained from labeling the
                                                                           10   Products as being from Texas.
                                                                           11         112. Business Practice. All of the conduct alleged herein occurs and
                                                                           12   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of
                                                                           13   a pattern or generalized course of conduct.
                                                                           14         113. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                           15   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                           16   from continuing to engage, use, or employ its practice of labeling the Products as
                                                                           17   alleged herein.
                                                                           18         114. Causation/Damages. Plaintiff and the California Subclass have
                                                                           19   suffered injury in fact and have lost money as a result of Defendant’s fraudulent
                                                                           20   conduct. Plaintiff paid an unwarranted premium for the Products. Specifically,
                                                                           21   Plaintiff and the California Subclass paid for products that they believed were made
                                                                           22   in Texas, when, in fact, the Products are made or manufactured in North Carolina.
                                                                           23   Plaintiff and the California Subclass would not have purchased the Products if they
                                                                           24   had known the truth. Accordingly, Plaintiff seeks damages, restitution, and/or
                                                                           25   disgorgement of ill-gotten gains pursuant to the UCL.
                                                                           26                                   C. “Unlawful” Prong
                                                                           27         115. Unlawful Standard. The UCL identifies violations of other laws as
                                                                           28   “unlawful practices that the unfair competition law makes independently

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                                                                            1   actionable.” Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D.
                                                                            2   Cal. 2008).
                                                                            3         116. Violations of CLRA and FAL. Defendant’s labeling of the Products,
                                                                            4   as alleged herein, violates California Civil Code sections 1750, et seq. (the
                                                                            5   “CLRA”) and California Business and Professions Code sections 17500, et seq. (the
                                                                            6   “FAL”) as set forth below in the sections regarding those causes of action.
                                                                            7         117. Additional Violations. Defendant’s conduct in making the false
                                                                            8   representations described herein constitutes a knowing failure to adopt policies in
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                                                                            9   accordance with and/or adherence to applicable laws, as set forth herein, all of
                                                                           10   which are binding upon and burdensome to their competitors. This conduct
                                                                           11   engenders an unfair competitive advantage for Defendant, thereby constituting an
                                                                           12   unfair, fraudulent and/or unlawful business practice under California Business &
                                                                           13   Professions Code sections 17200-17208. Additionally, Defendant’s
                                                                           14   misrepresentations of material facts, as set forth herein, violate California Civil
                                                                           15   Code sections 1572, 1573, 1709, 1710, 1711, and 1770, as well as the common law.
                                                                           16         118. Unlawful Conduct. Defendant’s packaging, labeling, and advertising of
                                                                           17   the Products, as alleged herein, are false, deceptive, misleading, and unreasonable,
                                                                           18   and constitute unlawful conduct. Defendant knew or should have known of its
                                                                           19   unlawful conduct.
                                                                           20         119. Reasonably Available Alternatives. Defendant had reasonably
                                                                           21   available alternatives to further its legitimate business interests, other than the
                                                                           22   conduct described herein. Defendant could have refrained from labeling the
                                                                           23   Products as alleged herein.
                                                                           24         120. Business Practice. All of the conduct alleged herein occurs and
                                                                           25   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of
                                                                           26   a pattern or generalized course of conduct.
                                                                           27         121. Injunction. Pursuant to Business and Professions Code Section 17203,
                                                                           28   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant

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                                                                            1   from continuing to engage, use, or employ its practice of false and deceptive
                                                                            2   advertising of the Products.
                                                                            3         122. Causation/Damages. Plaintiff and the California Subclass have
                                                                            4   suffered injury in fact and have lost money as a result of Defendant’s unlawful
                                                                            5   conduct. Plaintiff and the California Subclass paid an unwarranted premium for the
                                                                            6   Products. Plaintiff and the California Subclass would not have purchased the
                                                                            7   Products if they had known that Defendant’s purposely deceived consumers into
                                                                            8   believing that the Texas Pete Products are truly authentic Texan hot sauce.
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                                                                            9   Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of ill-gotten
                                                                           10   gains pursuant to the UCL.
                                                                           11                                        COUNT TWO
                                                                           12                      Violation of California False Advertising Law
                                                                           13                         (Cal. Bus. & Prof. Code §§ 17500, et seq.)
                                                                           14                             (On Behalf of the California Subclass)
                                                                           15         123. Incorporation by reference. Plaintiff repeats and re-alleges the
                                                                           16   allegations set forth in the preceding paragraphs and incorporates the same as if set
                                                                           17   forth herein at length.
                                                                           18         124. California Subclass. Plaintiff brings this claim individually and on
                                                                           19   behalf of the California Subclass who purchased the Products within the applicable
                                                                           20   statute of limitations.
                                                                           21         125. FAL Standard. The False Advertising Law, codified at Cal. Bus. &
                                                                           22   Prof. Code section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading
                                                                           23   advertising[.]”
                                                                           24         126. False & Material Labeling and Advertising Disseminated to Public.
                                                                           25   Defendant violated section 17500 when it advertised and marketed the Products
                                                                           26   through the unfair, deceptive, untrue, and misleading Texan origin representation
                                                                           27   disseminated to the public through the Products’ labeling, packaging, and
                                                                           28   advertising. These representations were false because the Products do not conform

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                                                                            1   to them. The representations were material because they are likely to mislead a
                                                                            2   reasonable consumer into purchasing the Products.
                                                                            3         127. Knowledge. In making and disseminating the representations alleged
                                                                            4   herein, Defendant knew or should have known that the representations were untrue
                                                                            5   or misleading, and acted in violation of § 17500.
                                                                            6         128. Intent to sell. Defendant’s labeling and advertising was specifically
                                                                            7   designed to induce reasonable consumers, like Plaintiff and the California Subclass,
                                                                            8   to purchase the Products.
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                                                                            9         129. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           10   misconduct in violation of the FAL, Plaintiff and members of the California
                                                                           11   Subclass were harmed in the amount of the purchase price they paid for the
                                                                           12   Products. Further, Plaintiff and members of the Class have suffered and continue to
                                                                           13   suffer economic losses and other damages including, but not limited to, the amounts
                                                                           14   paid for the Products, and any interest that would have accrued on those monies, in
                                                                           15   an amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for
                                                                           16   violation of the FAL in damages, restitution, and/or disgorgement of ill-gotten gains
                                                                           17   to compensate Plaintiff and the California Subclass for said monies, as well as
                                                                           18   injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future
                                                                           19   harm that will result.
                                                                           20         130. Punitive Damages. Defendant’s unfair, fraudulent, and unlawful
                                                                           21   conduct described herein constitutes malicious, oppressive, and/or fraudulent
                                                                           22   conduct warranting an award of punitive damages as permitted by
                                                                           23   law. Defendant’s misconduct is malicious as Defendant acted with the intent to
                                                                           24   cause Plaintiff and consumers to pay for Products that they were not, in fact,
                                                                           25   receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff and
                                                                           26   consumers as Defendant was aware of the probable dangerous consequences of its
                                                                           27   conduct and deliberately failed to avoid misleading consumers, including
                                                                           28   Plaintiff. Defendant’s misconduct is oppressive as, at all relevant times, said

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                                                                            1   conduct was so vile, base, and/or contemptible that reasonable people would look
                                                                            2   down upon it and/or otherwise would despise such corporate misconduct. Said
                                                                            3   misconduct subjected Plaintiff and consumers to cruel and unjust hardship in
                                                                            4   knowing disregard of their rights. Defendant’s misconduct is fraudulent as
                                                                            5   Defendant, at all relevant times, intentionally misrepresented and/or concealed
                                                                            6   material facts with the intent to deceive Plaintiff and consumers. The wrongful
                                                                            7   conduct constituting malice, oppression, and/or fraud was committed, authorized,
                                                                            8   adopted, approved, and/or ratified by officers, directors, and/or managing agents of
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                                                                            9   Defendant.
                                                                           10                                       COUNT THREE
                                                                           11                 Violation of California Consumers Legal Remedies Act
                                                                           12                               (Cal. Civ. Code §§ 1750, et seq.)
                                                                           13                             (On Behalf of the California Subclass)
                                                                           14         131. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           15   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           16         132. California Subclass. Plaintiff brings this claim individually and on
                                                                           17   behalf of the California Subclass who purchased the Products within the applicable
                                                                           18   statute of limitations.
                                                                           19         133. CLRA Standard. The CLRA provides that “unfair methods of
                                                                           20   competition and unfair or deceptive acts or practices undertaken by any person in a
                                                                           21   transaction intended to result or which results in the sale or lease of goods or
                                                                           22   services to any consumer are unlawful.”
                                                                           23         134. Goods/Services. The Products are “goods,” as defined by the CLRA in
                                                                           24   California Civil Code §1761(a).
                                                                           25         135. Defendant. Defendant is a “person,” as defined by the CLRA in
                                                                           26   California Civil Code §1761(c).
                                                                           27         136. Consumers. Plaintiff and members of the California Subclass are
                                                                           28   “consumers,” as defined by the CLRA in California Civil Code §1761(d).

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                                                                            1         137. Transactions. The purchase of the Products by Plaintiff and members
                                                                            2   of the California Subclass are “transactions” as defined by the CLRA under
                                                                            3   California Civil Code section 1761(e).
                                                                            4         138. Violations of the CLRA. Defendant violated the CLRA by selling the
                                                                            5   Products to Plaintiff and the California Subclass through the false, misleading,
                                                                            6   deceptive, and fraudulent labeling and advertising alleged herein: Section
                                                                            7   1770(a)(4) by “[u]sing deceptive representations or designations of geographic
                                                                            8   origin in connection with” the Products.
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                                                                            9         139. Knowledge. Defendant’s uniform and material representations and
                                                                           10   omissions regarding the Products were likely to deceive, and Defendant knew or
                                                                           11   should have known that its representations and omissions were untrue and
                                                                           12   misleading.
                                                                           13         140. Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in
                                                                           14   that Defendant intentionally misled and withheld material information from
                                                                           15   consumers, including Plaintiff, to increase the sale of the Products.
                                                                           16         141. Plaintiff Could Not Have Avoided Injury. Plaintiff and members of
                                                                           17   the California Subclass could not have reasonably avoided such injury. Plaintiff and
                                                                           18   members of the California Subclass were unaware of the existence of the facts that
                                                                           19   Defendant suppressed and failed to disclose, and Plaintiff and members of the
                                                                           20   California Subclass would not have purchased the Products and/or would have
                                                                           21   purchased them on different terms had they known the truth.
                                                                           22         142. Causation/Reliance/Materiality. Plaintiff and the California Subclass
                                                                           23   suffered harm as a result of Defendant’s violations of the CLRA because they relied
                                                                           24   on the labeling and advertising in deciding to purchase the Products. The labeling
                                                                           25   and advertising was a substantial factor. The labeling and advertising was material
                                                                           26   because a reasonable consumer would consider it important in deciding whether to
                                                                           27   purchase the Products.
                                                                           28

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                                                                            1         143. Section 1782(d)—Prelitigation Demand/Notice. Pursuant to California
                                                                            2   Civil Code, section 1782, more than thirty days prior to the filing of this complaint,
                                                                            3   on or about February 2, 2022 Plaintiff’s counsel, acting on behalf of Plaintiff White
                                                                            4   and all members of the Class, mailed a Demand Letter, via U.S. certified mail,
                                                                            5   return receipt requested, addressed to Defendant T.W. Garner Food Co. at its
                                                                            6   headquarters and principal place of business (614 West 14th Street, Winston-Salem,
                                                                            7   NC 27101) and its registered agent for service of process (Ann Garner Riddle, 4045
                                                                            8   Indiana Avenue, Winston-Salem, NC 27101), which were delivered to those
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                                                                            9   addresses on or about February 14, 2022 and February 18, 2022, respectively. See
                                                                           10   Exhibit 2 [Pre-Lit Demand Letter].
                                                                           11         144. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           12   misconduct in violation of the CLRA, Plaintiff and members of the California
                                                                           13   Subclass were harmed in the amount of the purchase price they paid for the
                                                                           14   Products. Further, Plaintiff and members of the Class have suffered and continue to
                                                                           15   suffer economic losses and other damages including, but not limited to, the amounts
                                                                           16   paid for the Products, and any interest that would have accrued on those monies, in
                                                                           17   an amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for
                                                                           18   violation of this Act in the form of damages, restitution, disgorgement of ill-gotten
                                                                           19   gains to compensate Plaintiff and the California Subclass for said monies.
                                                                           20         145. Injunction. Given that Defendant’s conduct violated California Civil
                                                                           21   Code section 1780, Plaintiff and members of the California Subclass are entitled to
                                                                           22   seek, and do hereby seek, injunctive relief to put an end to Defendant’s violations of
                                                                           23   the CLRA and to dispel the public misperception generated, facilitated, and fostered
                                                                           24   by Defendant’s false advertising campaign. Plaintiff has no adequate remedy at law.
                                                                           25   Without equitable relief, Defendant’s unfair and deceptive practices will continue to
                                                                           26   harm Plaintiff and the California Subclass. Accordingly, Plaintiff seeks an
                                                                           27   injunction to enjoin Defendant from continuing to employ the unlawful methods,
                                                                           28   acts, and practices alleged herein pursuant to section 1780(a)(2), and otherwise

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                                                                            1   require Defendant to take corrective action necessary to dispel the public
                                                                            2   misperception engendered, fostered, and facilitated through Defendant’s deceptive
                                                                            3   labeling of the Products as alleged herein.
                                                                            4         146. Punitive Damages. Defendant’s unfair, fraudulent, and unlawful
                                                                            5   conduct described herein constitutes malicious, oppressive, and/or fraudulent
                                                                            6   conduct warranting an award of punitive damages as permitted by law. Defendant’s
                                                                            7   misconduct is malicious as Defendant acted with the intent to cause Plaintiff and
                                                                            8   consumers to pay for Products that were not, in fact, receiving. Defendant willfully
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                                                                            9   and knowingly disregarded the rights of Plaintiff and consumers as Defendant were,
                                                                           10   at all times, aware of the probable dangerous consequences of their conduct and
                                                                           11   deliberately failed to avoid misleading consumers, including Plaintiff. Defendant’s
                                                                           12   misconduct is oppressive as, at all relevant times, said conduct was so vile, base,
                                                                           13   and/or contemptible that reasonable people would look down upon it and/or
                                                                           14   otherwise would despise such corporate misconduct. Said misconduct subjected
                                                                           15   Plaintiff and consumers to cruel and unjust hardship in knowing disregard of their
                                                                           16   rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant times,
                                                                           17   intentionally misrepresented and/or concealed material facts with the intent to
                                                                           18   deceive Plaintiff and consumers. The wrongful conduct constituting malice,
                                                                           19   oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                                           20   ratified by officers, directors, and/or managing agents of Defendant. Accordingly,
                                                                           21   Plaintiff seeks an award of punitive damages against Defendant.
                                                                           22                                      COUNT FOUR
                                                                           23                                   Breach of Warranty
                                                                           24              (On Behalf of the Nationwide Class and California Subclass)
                                                                           25         147. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           26   reference all allegations contained in this complaint, as though fully set forth herein.
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                                                                            1         148. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                            2   individually and on behalf of the Nationwide Class and California Subclass (the
                                                                            3   Class) who purchased the Products within the applicable statute of limitations.
                                                                            4         149. Express Warranty. By advertising and selling the Products at issue,
                                                                            5   Defendant made promises and affirmations of fact on the Products’ packaging and
                                                                            6   labeling, and through its marketing and advertising, as described herein. This
                                                                            7   labeling and advertising constitute express warranties and became part of the basis
                                                                            8   of the bargain between Plaintiff and members of the Class and Defendant.
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                                                                            9   Defendant purports, through the Products’ labeling and advertising, to create
                                                                           10   express warranties that the Products, among other things, conform to the labeling
                                                                           11   and advertising.
                                                                           12         150. Implied Warranty of Merchantability. By advertising and selling the
                                                                           13   Products at issue, Defendant, a merchant of goods, made promises and affirmations
                                                                           14   of fact that the Products are merchantable and conform to the promises or
                                                                           15   affirmations of fact made on the Products’ packaging and labeling, and through its
                                                                           16   marketing and advertising, as described herein. This labeling and advertising,
                                                                           17   combined with the implied warranty of merchantability, constitute warranties that
                                                                           18   became part of the basis of the bargain between Plaintiff and members of the Class
                                                                           19   and Defendant---to wit, that the Products, among other things, conform to the
                                                                           20   labeling and advertising.
                                                                           21         151. Breach of Warranty. Contrary to Defendant’s warranties, the Products
                                                                           22   do not conform to the labeling and advertising and, therefore, Defendant breached
                                                                           23   its warranties about the Products and their qualities.
                                                                           24         152. Causation/Remedies. As a direct and proximate result of Defendant’s
                                                                           25   breach of warranty, Plaintiff and members of the Class were harmed in the amount
                                                                           26   of the purchase price they paid for the Products. Further, Plaintiff and members of
                                                                           27   the Class have suffered and continue to suffer economic losses and other damages
                                                                           28   including, but not limited to, the amounts paid for the Products, and any interest that

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                                                                            1   would have accrued on those monies, in an amount to be proven at trial.
                                                                            2   Accordingly, Plaintiff seeks a monetary award for breach of warranty in the form of
                                                                            3   damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff
                                                                            4   and the Class for said monies, as well as injunctive relief to
                                                                            5   enjoin Defendant’s misconduct to prevent ongoing and future harm that will result.
                                                                            6                                       COUNT FIVE
                                                                            7                             Unjust Enrichment/Restitution
                                                                            8              (On Behalf of the Nationwide Class and California Subclass)
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                                                                            9         153. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           10   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           11         154. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                           12   individually and on behalf of the Nationwide Class and California Subclass (the
                                                                           13   Class) who purchased the Products within the applicable statute of limitations.
                                                                           14         155. Plaintiff/Class Conferred a Benefit. By purchasing the Products,
                                                                           15   Plaintiff and members of the Class conferred a benefit on Defendant in the form of
                                                                           16   the purchase price of the Products.
                                                                           17         156. Defendant’s Knowledge of Conferred Benefit. Defendant had
                                                                           18   knowledge of such benefit and Defendant appreciated the benefit because, were
                                                                           19   consumers not to purchase the Products, Defendant would not generate revenue
                                                                           20   from the sales of the Products.
                                                                           21         157. Defendant’s Unjust Receipt Through Deception. Defendant’s
                                                                           22   knowing acceptance and retention of the benefit is inequitable and unjust because
                                                                           23   the benefit was obtained by Defendant’s fraudulent, misleading, and deceptive
                                                                           24   representations and omissions.
                                                                           25         158. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           26   unjust enrichment, Plaintiff and members of the Class were harmed in the amount of
                                                                           27   the purchase price they paid for the Products. Further, Plaintiff and members of the
                                                                           28   Class have suffered and continue to suffer economic losses and other damages

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                                                                            1   including, but not limited to, the amounts paid for the Products, and any interest that
                                                                            2   would have accrued on those monies, in an amount to be proven at trial.
                                                                            3   Accordingly, Plaintiff seeks a monetary award for unjust enrichment in damages,
                                                                            4   restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the
                                                                            5   Class for said monies, as well as injunctive relief to enjoin Defendant’s misconduct
                                                                            6   to prevent ongoing and future harm that will result.
                                                                            7         159. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                            8   cause of action for unjust enrichment on behalf of Plaintiff and the Class.
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                                                                            9   Defendant’s unfair, fraudulent, and unlawful conduct described herein constitutes
                                                                           10   malicious, oppressive, and/or fraudulent conduct warranting an award of punitive
                                                                           11   damages as permitted by law. Defendant’s misconduct is malicious as Defendant
                                                                           12   acted with the intent to cause Plaintiff and consumers to pay for Products that they
                                                                           13   were not, in fact, receiving. Defendant willfully and knowingly disregarded the
                                                                           14   rights of Plaintiff and consumers as Defendant was aware of the probable dangerous
                                                                           15   consequences of its conduct and deliberately failed to avoid misleading consumers,
                                                                           16   including Plaintiff. Defendant’s misconduct is oppressive as, at all relevant times,
                                                                           17   said conduct was so vile, base, and/or contemptible that reasonable people would
                                                                           18   look down upon it and/or otherwise would despise such corporate misconduct. Said
                                                                           19   misconduct subjected Plaintiff and consumers to cruel and unjust hardship in
                                                                           20   knowing disregard of their rights. Defendant’s misconduct is fraudulent as
                                                                           21   Defendant, at all relevant times, intentionally misrepresented and/or concealed
                                                                           22   material facts with the intent to deceive Plaintiff and consumers. The wrongful
                                                                           23   conduct constituting malice, oppression, and/or fraud was committed, authorized,
                                                                           24   adopted, approved, and/or ratified by officers, directors, and/or managing agents of
                                                                           25   Defendant.
                                                                           26   //
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                                                                            1   VII. PRAYER FOR RELIEF
                                                                            2         160. WHEREFORE, Plaintiff, individually and on behalf of all others
                                                                            3   similarly situated, prays for judgment against Defendant as follows:
                                                                            4               a.    Certification: For an order certifying this action as a class action,
                                                                            5                     appointing Plaintiff as the Class Representative, and appointing
                                                                                                  Plaintiff’s Counsel as Class Counsel;
                                                                            6
                                                                                            b.    Declaratory Relief: For an order declaring that Defendant’s
                                                                            7                     conduct violates the statutes and laws referenced herein;
                                                                            8
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                                                                                            c.    Injunction: For an order requiring Defendant to immediately
                                                                            9                     cease and desist from selling the unlawful Products in violation of
                                                                                                  law; enjoining Defendant from continuing to market, advertise,
                                                                           10                     distribute, and sell the Products in the unlawful manner described
                                                                                                  herein; requiring Defendant to engage in an affirmative
                                                                           11                     advertising campaign to dispel the public misperception of the
                                                                           12                     Products resulting from Defendant’s unlawful conduct; and
                                                                                                  requiring all further and just corrective action, consistent with
                                                                           13                     permissible law and pursuant to only those causes of action so
                                                                                                  permitted;
                                                                           14
                                                                           15               d.    Damages/Restitution/Disgorgement: For an order awarding
                                                                                                  monetary compensation in the form of damages, restitution,
                                                                           16                     and/or disgorgement to Plaintiff and the Class, consistent with
                                                                                                  permissible law and pursuant to only those causes of action so
                                                                           17                     permitted;
                                                                           18               e.    Punitive Damages/Penalties: For an order awarding punitive
                                                                           19                     damages, statutory penalties, and/or monetary fines, consistent
                                                                                                  with permissible law and pursuant to only those causes of action
                                                                           20                     so permitted;
                                                                           21               f.    Attorneys’ Fees & Costs: For an order awarding attorneys’ fees
                                                                           22                     and costs, consistent with permissible law and pursuant to only
                                                                                                  those causes of action so permitted;
                                                                           23
                                                                                            g.    Pre/Post-Judgment Interest: For an order awarding pre-
                                                                           24                     judgment and post-judgment interest, consistent with permissible
                                                                                                  law and pursuant to only those causes of action so permitted; and
                                                                           25
                                                                           26               h.    All Just & Proper Relief: For such other and further relief as the
                                                                                                  Court deems just and proper.
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                                                                            1   VIII. JURY TRIAL DEMANDED
                                                                            2         Plaintiff demands a jury trial on all triable issues.
                                                                            3
                                                                            4
                                                                            5   Dated: September 12, 2022                      CLARKSON LAW FIRM, P.C.

                                                                            6                                                  By: /s/ Zachary T. Chrzan
                                                                            7                                                       Ryan J. Clarkson, Esq.
                                                                                                                                    Zachary T. Chrzan, Esq.
                                                                            8
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                                                                            9                                                        Attorneys for Plaintiff
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